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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



UNITED STATES OF AMERICA,

              Plaintiff,
                                                        CASE NO. 1:96-CR-84
v.
                                                        HON. ROBERT HOLMES BELL
SAMMY DYER,

              Defendant.
                                   /


                      MEMORANDUM OPINION AND ORDER

       This matter is before the Court on defendant’s Motion for Modification or Reduction

of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #743). Based on a review of

defendant’s motion, the Sentence Modification Report, submission by counsel for both

parties, and the original criminal file, the Court has determined that the motion should be

denied for the following reason(s):

       Defendant was sentenced on June 27, 1997 to 360 months custody and 10 years

supervised release following his conviction for Conspiracy to Distribute and Possession with

Intent to Distribute Cocaine, Cocaine Base, and Marijuana contrary to 21 U.S.C. §§846 and

841(a)(1).

       The Sentence Modification Report prepared as a result of defendant’s Amendment

750 motion states that defendant’s total offense level, criminal history category, and
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guideline range remain unchanged from the guidelines at the time of defendant’s sentencing

on June 27, 1997.

      Since Amendment 750 does not result in a lower guideline range, defendant is not

eligible for a sentence reduction under 18 U.S.C. §3582(c)(2) and USSG §1B1.10(a)(2)(B).

      ACCORDINGLY, defendant’s motion (docket #743) is DENIED.




Date: November 15, 2012                         /s/ Robert Holmes Bell
                                                ROBERT HOLMES BELL
                                                UNITED STATES DISTRICT JUDGE
